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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

ASHLEY SEIJOS,

                       Plaintiff,

v.                                                            Case No: 6:17-cv-611-Orl-41KRS

MONARCH RECOVERY
MANAGEMENT, INC. and DOES 1-10,

                       Defendants.
                                               /

                                               ORDER

       THIS CAUSE is before the Court on the Notice of Settlement (Doc. 20), wherein the parties

have advised the Court that the above-styled action has been settled.

       Accordingly, pursuant to Local Rule 3.08(b) of the Middle District of Florida, it is

ORDERED and ADJUDGED that this cause is hereby DISMISSED with prejudice subject to

the right of any party, within sixty days from the date of this Order, to move the Court to enter a

stipulated form of final order or judgment, or, on good cause shown, to reopen the case for further

proceedings. However, the Court notes that it will not retain jurisdiction to enforce the settlement

agreement; the parties have not provided good cause for doing so and the agreement is not before

the Court. The Clerk is directed to close this file.

       DONE and ORDERED in Orlando, Florida on November 16, 2017.




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Copies furnished to:

Counsel of Record




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